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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PERL FELBERBAUM,
                            Petitioner,                         ORDER
                    -against-
YAAKOV FELBERBAUM,                                              24-CV-02333 (PMH)

                            Respondent.


PHILIP M. HALPERN, United States District Judge:

        On December 17, 2024, Petitioner filed two copies of an unsigned attorney affirmation that

states, “upon information and belief” that Respondent relocated without providing a forwarding

address. (Doc. 43, Doc. 43-1). Petitioner has been unable therefore to serve Respondent personally,

as shown in an attached affidavit of attempted service. Petitioner therefore requests “pursuant to

CPLR § 308 (5), that this Honorable Court grant the Petitioner’s application for an alternative

method of service by email.” (Doc. 43, Doc. 43-1).

        The application is denied without prejudice. First, the Petitioner failed to file a notice of

motion as is required by Fed. R. Civ. P. 7 and Rule 7.1(a)(1) of the Local Civil Rules of the United

States District Courts for the Southern and Eastern Districts of New York. Second, Petitioner failed

to sign either copy of the two copies of the affirmation filed as is required by Fed. R. Civ. P. 11.

Finally, as to the merits of the request, Petitioner has not sufficiently established that service under

CPLR §§ 308(1)-(4) is “impracticable” nor has he provided any facts or evidence to demonstrate

that the alternate method of service requested is reasonably calculated, under all the circumstances,

to provide Respondent with adequate notice of the order to show cause. See, e.g., Windward Bora

LLC v. Edinboro, 719 F. Supp. 3d 238, 241-42 (E.D.N.Y. 2024).
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         Accordingly, Petitioner’s request is denied without prejudice to renewal. The Clerk of

Court is respectfully requested to terminate the pending motion (Doc. 43).

                                                SO ORDERED:

Dated:    White Plains, New York
          December 19, 2024

                                               PHILIP M. HALPERN
                                               United States District Judge




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